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                       I]NITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                    *   IMDL2179
       6Deepwater Horizon" in the Gulf
       of Mexico, on April20r20l0                  *   Section J

Applies: 12-968, Plaisance, et al. versus          *   JUDGE BARSIER
BP Exploration & Production,Inc. et aL
-AND-                                              *    MAG. JUDGE CURRAULT
Case No. 21-00540,
Claim ID: LMPC1298035




                                PROPOSED ORDER



       THE FOREGOING CONSIDERED;

       Let GARRISON RESOLUTION GROUP and KATHERINE HOSTY be

hereby ordered to make payment on the Order of May 17,2021.

       New Orleans, Louisiana this          day of Novembe42022



                                     -
                                            Honorable Carl J. Barbier
                                            U. S. District.Iudge
